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     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 12-cr-00250-TLN
                                                    )
12                                                  )       STIPULATION AND ORDER
            Plaintiff,                              )       CONTINUING CASE AND EXCLUDING
13                                                  )       TIME
     v.                                             )
14                                                  )
     XAVIER JOHNSON,                                )       Date: May 15, 2014
15                                                  )       Time: 9:00 am.
     KRISTIN M. CALDWELL,                           )       Judge: Honorable Troy L. Nunley
16
     WILLIAM L. BROWN.                              )
                                                    )
17          Defendants.                             )
                                                    )
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21
            IT IS HEREBY stipulated between the United States of America through its undersigned

22
     counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff, together with

23
     Kelly Babineau, attorney for defendant Kristin Caldwell; William Dubois, attorney for

24
     defendant William L. Brown and Kyle Knapp, attorney for defendant Xavier Johnson that the

25
     previously-scheduled status conference, currently set for March 27, 2014, be vacated and that

26
     the matter be set for status conference on May 15, 201 at 9:30 a.m.

27
            Counsel have conferred and this continuance is requested to allow defense counsel

28
     additional time to finalize review of the discovery, met again with our clients, investigate



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 1   possible defenses and to continue exploring the facts of the case. In addition, there are plea
 2   agreements forthcoming which will have to be triaged with our respective clients.
 3          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 4   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 5   time within which the trial of this case must be commenced under the Speedy Trial Act should
 6   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 7   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, March
 8   25, 2014 up to and including May 15, 2014.
 9   IT IS SO STIPULATED.
10
     Dated: March 25, 2015                                       BENJAMIN B. WAGNER
11                                                               UNITED STATES ATTORNEY

12                                                        by:    /s/ Matthew Morris
                                                                 MATTHEW MORRIS
13
                                                                 Assistant U.S. Attorney
14                                                               Attorney for Plaintiff

15   Dated: March 25, 2014                                       /s/ Kelly Babineau
16
                                                                 KELLY BABINEAU
                                                                 Attorney for Defendant
17                                                               Kristin Caldwell
18   Dated: March 25, 2014                                       /s/ William Dubois
19
                                                                 WILLIAM DUBOIS
                                                                 Attorney for Defendant
20                                                               WILLIAM L. BROWN
21
     Dated: March 25, 2013                                       /s/ Kyle R. Knapp
22                                                               KYLE KNAPP
                                                                 Attorney for Defendant
23                                                               XAVIER JOHNSON
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 1
                                                 ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s March 27, 2014 criminal calendar
 4
     and re-calendared for status conference on May 15, 2014.
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on March 25, 2104 through
 8
     and including May 15, 2014.
 9

10          IT IS SO ORDERED.

11   Dated: March 27, 2014
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15                                                       Troy L. Nunley
                                                         United States District Judge
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